(Rev. 1/18) Petition for Admission Pro Hac Vice

IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF MISSOURI

PETITION FOR ADMISSION PRO HAC VICE

Affidavit of Movant

1,_ Anthony F. Rupp , an active member in good standing of the Bar of the United States
District Court for the Western District of Missouri, request that this court admit pro hac vice,

James F. McCabe , an attorney admitted to practice in a United States District Court, but not admitted to the
Bar of this court, who will be counsel for the _Defendant, LexisNexis _, in the case(s) listed below. I am aware that the
local rules of this court require that I participate in the preparation and presentation of said case(s), and that I accept
service of all papers served. I also understand and agree that if the admittee does not sign up to receive CM/ECF filings, I
will be responsible for notifying the admittee of all papers served by CM/ECF.

ihn... xy ) 39081

Signature of Movant/Attorney/ | MO Bar Number
(O-Ce@- DS Foulston Siefkin, LLP
Date Address
(913) 498-2100 7500 College Boulevard, Suite 1400
Phone
Overland Park, KS 66210

Affidavit of Proposed Admittee

1,_James F. McCabe , certify that I reside outside the
boundaries of the Western District of Missouri and I am not admitted to the Bar of this court. I am a member in good
standing in the state(s) of _ California and the United States District Court(s) of

California: Northern, Eastern, Central and Southern . (Attach additional page if necessary.)

Pursuant to Local Rule 83.5(h), I certify I am a member in good standing in all bars of which I am a member. I
understand that if this court grants me admission pro hac vice, the movant bringing this motion must participate in the
preparation and presentation of the matters listed below, and must accept service of all papers served. I am aware that I
can register to receive CM/ECF filings. I understand and agree that should I choose not to register for CM/ECF, I will
arrange with movant to keep me advised of papers served and filed in this case.

Case Number(s): Case Title(s)
5:23-cv-6123 ' Kevin Jesse Scrivener v. Trans Union LLC & LexisNexis Risk

Solutions, Inc.

Date: !0|26 [23 Signature: Sy
State Bar of Residence & Bar Number: Address: Alston & Bird LLP
California / Bar No. 104686 560 Mission Street, Suite 2100
San Francisco, CA 94105
Phone: (415) 243-1000 Email: Jim.McCabe@alston.com

Pursuant to WDMO Local Rule 83.5(h) a fee of $100 is required for each case in which the attorney is seeking
admittance.

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